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UNITED STATES DISTRICT COURT

FOR THE DISTRI CT OF CONNECTICUT

 

FREDERICK KLORCZY`K, JR, as co-administrator : CIVIL ACTION NO:
of the Estate of Christian R. Klorczyk, : 3:13-cv-00257-RNC
FREDERICK KLORCZYK,JI., individually
LYNNE KLORCZYK, as co-administrator
of the Estate of Christian R. Klorczyk and
LYNNE KLORCZYK, individually
Plaintiffs
VS.
SEARS, ROEBUCK & CO., SHINN FU
CORPORATION, and
SHINN FU COMPANY OF AMERICA, INC. .
Defendants : OCTOBER 24, 2018
NOTICE OF BANKRUPTCY FILING AND IMPOSITION OF AUTOMATIC STAY OF
THE DEFENDANT. SEARS. ROEBUCK AND CO.

PLEASE TAKE NOTICE, pursuant to Connecticut Practice Book §14-1, the Defendant
hereby notifies that on October 15, 2018, (the “Commencement Date”), Sears Holdings Corporation
and its debtor afliliates, one of which is the Defendant in this matter, as debtors and debtors in
possession in the above-captioned chapter ll cases (collectively, the “Debtors”) each commenced
a voluntary case (the “Chapter 11 Cases”) under chapter 11 of title ll of the United States Code
(11 U.S.C. § 101 er seq.) (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southem District of New York (the “Bankruptcy Court”). The Chapter 1 1 Cases are being jointly
administered under Case No. 18-23 538 (RDD) (the “Bankruptcy Cases”). A copy of the applicable
{Debtor’s/Debtors’] chapter 11 petitions is attached hereto as Exhibit A. An Affldavit of
Bankruptcy , as required by Connecticut Practice Book § 14-1 , will be filed contemporaneously with

this Notice.

PLEASE BE ADVISED that pursuant to section 362(a) of the Bankruptcy Code (the

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“Automatic Stay”), the filing of a bankruptcy petition “operates as a stay, applicable to all entities,”
of, among other things “the commencement or continuation, including the issuance or employment
of process, of a judicial, administrative, or other action or proceeding against the_debtor that was
or could have been commenced before the commencement of the case under [the
Bankruptcy Code], _or to recover a claim against the debtor that arose before the commencement
of the [bankruptcy] case” and “any act to obtain possession of property of the estate or of property
from the estate or to exercise control over property of the estate.” ll U.S.C. § 362(a)(l), (3).
Accordingly, the above-captioned matter has been automatically stayed pursuant to section 362(a)
of the Bankruptcy Code.

PLEASE BE FURTHER ADVISED that any action taken against the Debtors
without obtaining, from the Bankruptcy Court, relief from the Automatic Stay is void ab initio
and may result in a finding of contempt for violation of the Automatic Stay. The Debtors reserve
and retain their statutory right to seek relief in the Banl<ruptcy Court from any action by
Plaintiff`(s) or any judgment, order, or ruling entered in violation of the Automatic Stay.

In the event the Court or any parties have questions regarding the Chapter 11 Cases,
please contact counsel for the Debtors:
WE[L, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, New York 10153, Telephone:
(212)310-8000,Facsimi1e: (212) 310 8007, Ray C. Schrock P.C., Jacqueline |V|arcus,
Garrett A. Fai|, Sunny Singh

WHEREFORE1 the Defendant respectfully requests the Court to order a Stay of

all matters

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Dated October 24, 2018

THE DEFENDANT
SEARS, ROEBUCK AND CO.,

 
 
  

  
 

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CERTIFICATE OF SERVICE

 

l hereby certify that on October 24, 2018, the foregoing was electronically filed and served
by mail on anyone unable to receive notice of electronic filing. Notice of this filing will be sent by
email to all parties by operation of the Court’s electronic filing system or by mail on anyone unable
to receive notice of electronic filing as indicated in the Notice of Electronic Filing. Parties may
access this document through the Court’S CM/ECF System.

THE DEFENDANT
SEARS, ROEBUCK AND CO.,

   

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EXHIBIT A

Chapter 11 Petition

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